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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

             Plaintiff,                   CASE NO. 22-20504
                                          HON. JONATHAN J.C. GREY
 v.

 AWS MOHAMMED NASER,

             Defendant.
                                     /

             ORDER TO REDACT JUROR NAMES FROM
              TRIAL TRANSCRIPT FOR JUNE 2, 2025

       On June 2, 2025, while selecting the alternate jurors, the Court

 announced the names of the four alternate jurors. In the interests of

 justice, including the privacy of the jurors, whose names are not

 material to the issues before the Court,

       IT IS ORDERED that the alternate jurors’ names shall be, and

 hereby are, REDACTED from the trial transcript for June 2, 2025.

 Dated: June 2, 2025                s/Jonathan J.C. Grey
                                    JONATHAN J.C. GREY
                                    UNITED STATES DISTRICT COURT
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                          Certificate of Service

 The undersigned certifies that the foregoing document was served upon
 counsel of record and any unrepresented parties via the Court’s ECF
 System to their respective email or First-Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on June 2, 2025.

                                s/ S. Osorio
                               Sandra Osorio
                               Case Manager




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